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          COVID-19 MANDATORY VACCINATION IMPLEMENTATION
                     GUIDANCE FOR SERVICE MEMBERS
                      Deputy Director of Staff for COVID-19
                                3 September 2021




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                                           Chapter 1

                                      INTRODUCTION

1.1. Purpose. This document provides Department of the Air Force implementation guidance
pursuant to the 24 August 2021 Secretary of Defense memorandum and the subsequent 3
September 2021 Secretary of the Air Force memorandum. Accomplishment of mandatory
COVID-19 vaccinations will be carried out as soon as possible after receiving this
implementation guidance.

1.2. Background.

   1.2.1. On 23 August 2021, the US Food and Drug Administration (FDA) approved the
   Pfizer-BioNTech mRNA COVID-19 vaccine which will be now be marketed as
   “COMIRNATY®” for prevention of COVID-19 disease in individuals 16 years of age and
   older. The vaccine also continues to be available under Emergency Use Authorization
   (EUA) for individuals 12 through 15 years of age and for the administration of a third dose in
   certain immunocompromised individuals.

      1.2.1.1. The FDA approved COMIRNATY® and the FDA authorized Pfizer-BioNTech
   COVID-19 vaccine under emergency use authorization have the same formulation and can be
   used interchangeably.

       1.2.1.2. Providers can use doses distributed under the EUA to administer the vaccination
   series as if the doses were the licensed vaccine according to the FDA. Other vaccines may be
   added to this list in the future.

   1.2.2. All other vaccines authorized by the FDA under an EUA will remain voluntary until
   they receive full FDA approval.

   1.2.3. Following the FDA news release, the Secretary of Defense announced that the
   COVID-19 vaccine would be a requirement for all members of the Armed Forces under DoD
   authority on active duty or in the Ready Reserve, including National Guard.

   1.2.4. Service members voluntarily immunized with a COVID-19 vaccine under FDA EUA
   or World Health Organization (WHO) Emergency Use Listing (EUL) IAW applicable dose
   requirements prior to, or after, the establishment of this policy are considered fully
   vaccinated.

1.3. Key Messages. Education of all levels of the command structure is imperative to ensure the
success of this program. The key messages for this vaccination effort are:

   1.3.1. Your health and safety are our #1 concern.

   1.3.2. The vaccine is safe and effective.
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   1.3.3. The threat from COVID-19 is real and deadly.

   1.3.4. Vaccination offers a layer of protection, in addition to hand washing, use of cloth face
   masks, social distancing, tele-working, and other non-pharmaceutical interventions.

1.4. Applicability and Scope.

   1.4.1. All individuals identified in section 1.2.3.

   1.4.2. All other eligible personnel are strongly recommended to voluntarily receive either the
approved COMIRNATY® or other FDA EUA or WHO EUL COVID-19 vaccines.

   1.4.3. Members who are actively participating in COVID-19 clinical trials are exempt from
mandatory vaccination against COVID-19 until the trial is complete.
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                                            Chapter 2

                              ROLES AND RESPONSIBILITIES


2.1. AF/DDS COVID-19.

   2.1.1. As OPR for implementation of the vaccination mandate, develop and implement
   necessary DAF policy.

   2.1.2. Provide program oversight.

   2.1.3. Coordinate with other Services and agencies on policy implementation and execution
   as appropriate.

   2.1.4. Review and coordinate requests from MAJCOMs and FLDCOMS for exceptions to
   policy.

2.2. AF/SG.

   2.2.1. Coordinate with DHA Director.

   2.2.2. Serve as the final appeal authority for all denials of requests for religious
   accommodations per DAFI 52-201.

2.3. MAJCOMs and FLDCOMs.

   2.3.1 Designate a staff element as OPR for management of implementation of this guidance.
   (Designate any OCRs as deemed necessary.)

   2.3.2. Consult with installations on vaccination issues which require command support.

   2.3.3. Coordinate requests for exceptions to policy with installations and HAF/DDS
   COVID-19.

   2.3.4. Adjudicate religious exemptions per DAFI 52-201.

2.4. Installation Commander.

   2.4.1. Ensure compliance with this guidance by maintaining oversight and ownership of the
   installation’s implementation plan for mandatory vaccination.

   2.4.2. As needed, develop a base implementation plan consistent with DoD and DAF
   guidance. The Department of the Air Force plan may be used as the foundation for the
   installation’s implementation plan.
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   2.4.3. As needed, designate a senior line officer as the installation OIC to oversee the
   implementation of this guidance and the vaccination mandate.

   2.4.4. Direct the Medical Treatment Facility (MTF) Commander or Senior Officer in the
   Reserve Medical Unit to coordinate the medical administrative and clinical functions of
   COVID-19 vaccination pursuant to this guidance.

   2.4.5. Ensure all installation personnel receive education on the ma as outlined in Chapter 3
   of this plan.

   2.4.6. Submit requests for exception to policy to MAJCOM and FLDCOM OPRs for
   coordination.

2.5. Public Affairs.

   2.5.1. Prioritize community education and provide support to command teams.

   2.5.2. Coordinate responses to media inquiries.

2.6. Legal.

   2.6.1. Educate base personnel as needed on relevant legal issues.

   2.6.2. Answer any inquiries regarding legal issues related to mandatory vaccination and this
   guidance (e.g., Freedom of Information Act requests and refusals to receive mandatory
   vaccinations) and provide guidance to commanders as needed/requested.

2.7. Chaplain.

   2.7.1. Assist with vaccine exemptions based on religious accommodations IAW DAFI 52-
   201. The senior chaplain leads the RRT in providing recommendations to commanders on
   how to resolve religious matters. See Attachment 1, Religious Accommodation Requests.

2.8. Unit Commanders.

   2.8.1. Ensure unit personnel are educated on the vaccine and the vaccination requirement
   IAW Chapter 3 of this plan. Helpful documents such as “DoD & MHS Talking Points –
   COVID-19 Updates (29 Jul 21)”, “COVID19 Vaccine FAQs_V1_3Aug 2021” and others are
   accessible from https://www.milsuite.mil/book/groups/daf-covid-19-vaccine-confidence-
   working-group-cvcwg.

   2.8.2. Enforce compliance with the mandate from the Secretary of Defense and the Secretary
   of the Air Force by issuing an order for all unvaccinated members under the unit’s command
   to receive the COVID-19 vaccine.
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   2.8.3. For personnel subject to the vaccination mandate, manage cases of individual refusal
   to receive the vaccine IAW section 5.3 of this plan. Begin taking refusal management steps
   as soon as possible following notification by the MTF of vaccine refusal by a unit member.

2.9. Military Treatment Facility Commander or Local Equivalent.

   2.9.1. Provide oversight for all medical administrative and clinical aspects of vaccination
   IAW DHA-IPM 20-004.

   2.9.2. Assign medical provider(s), as needed, to support:
      2.9.2.1. The installation’s Religious Resolution Team (RRT) and medical counseling for
      personnel requesting religious waivers;
      2.9.2.2. The medical evaluation of personnel requiring a medical exemptions; and
      2.9.2.3. Notification of commanders if the initial refusal of the COVID-19 vaccine takes
      place in the MTF or Points of Dispensing (PODs). (See paragraph 5.3.2.)

   2.9.3. Ensure appropriate medical personnel are educated on the clinical and policy aspects
   of the vaccine program (see Chapter 3). Be prepared to provide additional information to
   Commanders and individuals.

   2.9.4. Ensure a process is in place for access to health care for individuals who may have an
   adverse reaction to the vaccine.

   2.9.5. Ensure those receiving vaccination are offered education prior to vaccine
   administration.

   2.9.6. Oversee management of adverse events IAW DHA-IPM 20-004.

   2.9.7. Ensure providers are educated on evaluation for vaccine exemption requests. (See
   paragraph 3.4.)

2.10. Vaccine Site Coordinator.

   2.10.1. Ensure education and training of vaccinators on current vaccination policy is
   accomplished IAW DHA-IPM 20-004 and any supplemental guidance from DHA-IHD.

   2.10.2. Ensure the most current version of the FDA Fact Sheet is readily
   available/distributed at education venues and within the MTF until an Advisory Committee
   on Immunization Practices (ACIP)-approved Vaccine Information Statement (VIS) becomes
   available.

   2.10.3. Continue to coordinate with the vaccine coordinators and logistics champions.
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   2.10.4. For deployers going to countries where yellow shot record is required, ensure
   COVID-19 vaccine is also documented in their yellow shot record.

2.11. Individuals Receiving Vaccination.

   2.11.1. Receive education on the COVID-19 disease threat and information on the vaccine.

   2.11.2. Read the FDA Fact Sheet.

   2.11.3. Address any concerns with medical staff prior to receiving the vaccine.

   2.11.4. Air Reserve Component (ARC) members who receive vaccination outside a military
   facility will provide documentation to their unit health monitor and reserve medical unit
   within 72 hours of vaccination.
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                                           Chapter 3

                        EDUCATION PLAN FOR VACCINATION


3.1. General. Education is the key to a successful COVID-19 vaccination program.
Commanders at all levels are responsible for educating their personnel before vaccination. This
educational program will inform personnel of the following:

   3.1.1. The Food and Drug Administration (FDA) has licensed the Pfizer-BioNTech mRNA
   COVID-19 vaccine, now marketed as “COMIRNATY®,” for prevention of COVID-19
   disease as well as preventing COVID-19-related serious negative outcomes. (Note: IAW
   FDA guidance, COMIRNATY® has the same formulation and can be used interchangeably
   with the FDA-authorized Pfizer-BioNTech COVID-19 Vaccine. Providers can use doses
   distributed under the EUA to administer the vaccination series as if the doses were the
   licensed vaccine.)

   3.1.2. Known and potential benefits and risks of COMIRNATY®.

   3.1.3. Only an FDA-licensed vaccine may be mandated; however, Service members may be
   voluntarily immunized with a COVID-19 vaccine under FDA Emergency Use Authorization
   (EUA) or World Health Organization (WHO) Emergency Use Listing prior to or after the
   establishment of this policy and are considered fully vaccinated.

   3.1.4. The FDA and Centers for Disease Control and Prevention (CDC) have monitoring
   systems in place to ensure that any safety concerns continue to be identified and evaluated in
   a timely manner.

3.2. Key Messages.

   3.2.1. Your health and safety are our #1 concern.

   3.2.2. The vaccine is safe and effective.

   3.2.3. The threat from COVID-19 is real and deadly.

   3.2.4. Vaccination offers a layer of protection, in addition to hand washing, use of cloth face
   masks, social distancing, tele-working, and other non-pharmaceutical interventions.

3.3. Education for Individuals. All unvaccinated personnel (as identified in section 1.2) must
receive education on the COVID-19 vaccinations before receiving the vaccine. This applies to
individuals initiating or continuing the vaccination series.

   3.3.1. The primary mode of providing education to individuals is the FDA Fact Sheet that
   will be disseminated at the Immunizations Clinic and/or PODs at minimum. Prior to
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   receiving a fully FDA-approved COVID-19 vaccine or an EUA/EUL COVID-19 vaccine,
   individuals must have had the opportunity to review the product-specific information.

       3.3.1.1. Upon arrival at the MTF to receive the COVID-19 vaccine, individuals will be
       offered a copy of the product specific Fact Sheet. Prior to administering the COVID-19
       vaccine, the immunization technician will confirm the individual has understood the
       information within the FDA Fact Sheet. Any questions should be addressed prior to
       vaccination.

3.4. Education for Medical Personnel. Medical personnel are the primary source of
information on the disease, the vaccine, and vaccine side effects. For those individuals who
experience an adverse event associated with the vaccine, medical personnel will provide the
appropriate treatment and referral, if necessary, for diagnosis and treatment of medical
conditions.

   3.4.1. Military Treatment Facility Commander or local equivalent will ensure that healthcare
   professionals and vaccinators involved in COVID-19 vaccination review and comply with
   implementation guidance.

   3.4.2. Medical personnel involved with vaccination must understand healthcare-access
   guidance, procedures for reporting in the Vaccine Adverse Events Reporting System
   (VAERS) and reasons for medical exemption.

   3.4.3. Understand the healthcare provider’s roles and responsibilities with medical and
   administrative exemptions to include religious exemptions.

   3.4.4. Personnel providing COVID-19 immunizations must acknowledge training IAW
   DHA-IPM 20-004.

   3.4.5. The Chief of Medical Staff (SGH) will ensure education on the vaccine and the
   vaccination requirement is accomplished for: clinical supervisors of vaccinators, preventive
   medicine and public health staff, relevant healthcare providers (e.g., allergy-immunology,
   ambulatory care, flight medicine, emergency care), and any other provider designated by the
   Medical Commander. Education must also include the components listed in 3.1.
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                                          Chapter 4

                                     MEDICAL ISSUES

4.1. Vaccine Administration.

   4.1.1. Administer COVID-19 vaccine IAW DHA-IPM 20-004.

   4.1.2. ASIMS will turn “yellow” for not fully vaccinated personnel on 3 September 2021.
   ASIMS will turn “red” for those not fully vaccinated personnel by the respective timelines.

   4.1.3. An order to receive the COVID-19 vaccine is not related to the colors in ASIMS. The
   colors are for MTF tracking purposes only.

   4.1.4. For individuals recently diagnosed with COVID-19, treated with monoclonal
   antibodies, or treated with convalescent plasma, administer COVID-19 immunization in
   accordance with recommendations from the CDC, recommendations from the CDC’s
   Advisory Committee on Immunization Practices (ACIP), and FDA guidelines.

4.2. Pregnancy and Nursing Considerations. The COVID-19 vaccine is recommended during
pregnancy.

   4.2.1. Pregnant Service members (unless under medical exemption) are recommended to
   receive COVID-19 vaccination consistent with guidance from the CDC, American College of
   Obstetricians and Gynecologists (ACOG), and the Society for Maternal-Fetal Medicine
   (SMFM); however, a pregnant Service member with concerns about vaccination during
   pregnancy may pursue a temporary medical exemption following vaccine counseling from
   her healthcare provider, as per paragraph 2-6.a.(1)(a) of AFI 48-110.

   4.2.2. As needed, consult medical providers to weigh the benefit/risk of getting
   COMIRNATY® during pregnancy.

   4.2.3. Nursing mothers (unless under a medical exemption) are mandated to receive
   COMIRNATY®.

   4.2.4. Individuals seeking information related to vaccination during pregnancy or while
   nursing are encouraged to access the following website: https://www.acog.org/womens-
   health/faqs/coronavirus-covid-19-pregnancy-and-breastfeeding.

4.3. Pre-vaccination Screening. Medically screen patients prior to administering the COVID-
19 vaccine to ensure there are no contraindications for receiving the vaccine.

4.4. Adverse Reactions.

   4.4.1 General Information. Medical personnel must be prepared to manage perceived or
   actual adverse events after vaccination: how to minimize them, respond to them, and report
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   them IAW AFI 48-110. Treat each concern with care; some symptoms following COVID-19
   vaccination may or may not be caused by the vaccination, but all deserve individual
   attention.

   4.4.2 Immunization Technician’s Role. Immunization technicians will have the most current
   version of the FDA Fact Sheet and other sources of information available in the clinic, which
   provide details on potential side effects. If a patient returns to the clinic after receiving a
   vaccination and indicates that they had an adverse reaction, the immunization technician can,
   again, provide these information sources to the patient. If the adverse reaction is anything
   more than a mild, local reaction, they should be referred to a provider. In every case, the
   patient should be given the option of seeing a provider.

   4.4.3 Any serious adverse event temporally associated with receipt of a dose of a fully FDA-
   approved COVID-19 vaccine or an EUA/EUL COVID-19 vaccine should be immediately
   evaluated by a privileged healthcare provider. Adverse event management should be
   thoroughly documented in medical records.

   4.4.4. Adverse reactions from DoD-directed immunizations are Line of Duty (LOD)
   conditions.

   4.4.5. Adverse event reporting follow the procedures IAW DHA-IPM 20-004.

4.5. Medical Exemptions.

   4.5.1. Granting medical exemptions is a medical function that must be performed by a
   privileged military health care provider IAW AFI 48-110. Medical exemptions may be based
   on pre-existing conditions or result from vaccine adverse reactions and should be consistent
   with the CDC Interim Clinical Considerations for Use of COVID-19 Vaccines:
   https://www.cdc.gov/vaccines/covid-19/clinical-considerations/covid-19-vaccines-
   us.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fvaccines%2Fcovid-
   19%2Finfo-by-product%2Fclinical-considerations.html#vaccinated-part-clinical-trail.
   See the Medical Exemption Process Attachment for more detail.

      4.5.1.1. For the COVID-19 vaccines, IAW CDC guidance, contraindications include: 1)
      severe allergic reaction (anaphylaxis) after previous dose or to a component of the
      specific COVID-19 vaccine; 2) immediate allergic reaction of any severity to a previous
      dose or known (diagnosed) allergy to a component of the specific COVID-19 vaccine;
      and 3) development of pericarditis or myocarditis after the first dose.

      4.5.1.2. Previous infections or positive serology do not exempt Service members from
      full vaccination requirements. (At this time, DoD, consistent with CDC
      recommendations, has not determined that a serological test is sufficient to meet the
      immunization requirements.)
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      4.5.1.3. Only “MT” or “Medical, Temporary” medical exemption code should used in
      ASIMS. A temporary medical exemption for up to 365 days allows future evaluation
      against other fully approved/biologics license application vaccines.

   4.5.2. Granting of medical exemptions may require a duty status change or deployment
   limitation for the individual. Any change in duty status/deployment eligibility/assignment
   limitation due to a medical exemption must be processed IAW applicable AFIs.

      4.5.2.1. Use of medical exemption codes in ASIMS must be IAW AFI 48-110, Table C-
      1.

4.6. COVID-19 Vaccine Tracking and Documentation.

   4.6.1. The Public Health Office or the Base Operational Medicine Clinic (BOMC) will assist
   commanders and their designees with ASIMS access.

   4.6.2. COVID-19 vaccination documentation will ensure clinical decision making is
   captured.

      4.6.2.1 Vaccination sites using MHS GENESIS will continue to use this EHR platform
      for vaccination documentation.

      4.6.2.2 Vaccination sites using AHLTA will use either ASIMS or AHLTA. Do not
      double document. Data entered into ASIMS or AHLTA will flow to the other.

      4.6.2.3 ASIMS can be used as an alternate in locations (Guard/Reserve) who do not have
      access to AHLTA/MHS GENESIS but do have ASIMS/ Health Artifact and Image
      Management Solution (HAIMS) capabilities.

   4.6.3. ASIMS will serve as the tracking mechanism for immunizations of Airmen and
   Guardians.

   4.6.4 For deployers going to countries where yellow shot record is required, document
   COVID-19 vaccine in their yellow shot record.

4.7. Medical Logistics/Vaccine Distribution. The US Army Medical Materiel Agency
(USAMMA) is responsible for coordinating the distribution of COVID-19 vaccine within DoD.

   4.7.1. Base level medical logistics personnel can order the COVID-19 vaccine from
   USAMMA.

   4.7.2. Ensure proper COMIRNATY® storage requirements are met.

   4.7.3. Monitor for any relevant shelf-life extensions.

4.8. Aircrew Management.
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     4.8.1. Adverse reactions are rare for all vaccines. Benefits of administration of vaccine for
this population far outweigh the risks. After receiving COVID-19 vaccine, all flyers, controllers,
and special warfare airmen (DD Form 2992 holders) will maintain access to medical care on the
ground and not perform aviation-related duties (e.g., flying, controlling, or jumping) for a period
of 48 hours after each dose IAW Department of the Air Force Memorandum, “HAF SII 20-02:
DNIF Guidance for COVID Vaccines,” December 21, 2020. No formal grounding is required
for uncomplicated immunizations.
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                                            Chapter 5

                                 ADMINISTRATIVE ISSUES


5.1. Exemptions.

   5.1.1. Guidance for religious accommodations is found in DAFI 52-201. The MAJCOM,
   FLDCOM, DRU or FOA commander is the approval and denial authority for religious
   exemptions. AF/SG is the appellate authority for any religious vaccine exemption requests.

   5.1.2. Administrative and medical exemptions are handled and coded IAW AFI 48-110.

       5.1.2.1. The only administrative exemption is for members on approved terminal leave.

          5.1.2.1.1. Official documentation from the Squadron Commander including the
          administrative code and duration (specific date, temporary, indefinite) of exemption
          will be presented to the Immunization Clinic. Validated administrative exemptions
          will then be entered into ASIMS by the Immunization Clinic staff.

       5.1.2.2. Medical Exemptions may be authorized under AFI 48-110. See paragraph 4.5.1.
       for procedures.

5.2. Healthcare Access Guidelines. At the time of immunization, all vaccine recipients will be
provided information on potential adverse events.

   5.2.1. Whenever an individual presents to an MTF expressing a belief that the condition for
   which the treatment is sought is related to an immunization received in a DoD clinic, they are
   authorized initial or emergency care to evaluate and treat an actual or perceived adverse
   reaction. Care may also be provided by a civilian medical facility in the following
   circumstances: an individual believes the situation to be an emergency and the civilian
   hospital is the nearest facility or an individual is on leave status, TDY or in a non-duty status
   (ARC personnel) and there are no MTFs within 50 miles. Pre-approval may still be required
   depending on the specific circumstances when not an emergent situation. Refer to AFI 48-
   110 for additional guidance.

      5.2.1.1. ARC Personnel. If a member suffers an adverse reaction from a DoD-directed
   immunization while in an approved duty status, it is an LOD condition.

5.3. Refusal Management.

   5.3.1. Military Members. A commander ordering a military member to take the COVID-19
   vaccine constitutes a lawful order. However, the member’s commander may exercise his or
   her discretion in handling refusal cases. When issuing an order to a military member to take
   the COVID-19 vaccine, if an individual indicates he or she is going to refuse the COVID-19
   vaccination or has initially refused the vaccination the following approach should be used:
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      5.3.1.1. Find out why the individual is reluctant.

      5.3.1.2. Provide the member with appropriate education.

      5.3.1.3. Combinations of concerns may require education by a number of people; for
      example:

           5.3.1.3.1. Concerns with vaccine safety, efficacy, or health risks should be sent to
           the supporting medical organization (if not previously accomplished). Medical
           education should be tailored to the specific concerns of the individual (efficacy,
           reproduction, allergic reactions, etc.) and should be accomplished by a health care
           provider knowledgeable about the COVID-19 vaccine and who is able to address
           the specific medical concerns of the individual. The medical counseling will be
           documented in the individual’s medical record.

           5.3.1.3.2. If the member is still reluctant after additional education, send the
           member to the Area Defense Counsel for an explanation of the potential
           consequences of his/her refusal.

      5.3.1.4. The commander should ensure the order, and accompanying counseling on
      appropriate resources, is documented in writing.

      5.3.1.5. If the member refuses to follow the order to vaccinate, consult with the servicing
      Staff Judge Advocate’s office for appropriate action.

      5.3.1.6. Notify the Immunization Clinic of the decision so the proper administrative code
      can be entered in ASIMS.

   5.3.2. Management of Vaccine Refusal in the Immunization Clinic.

      5.3.2.1. If an individual subject to the vaccination requirement, as identified in paragraph
      1.2.3 of this plan, refuses a fully FDA-approved COVID-19 vaccine, the technician
      should notify the Immunization Clinic NCOIC/OIC before that individual leaves the
      clinic. The NCOIC/OIC (or technician if they are not available) should verify again that
      the individual has been offered the FDA Fact Sheet and the opportunity to ask questions.
      Notify the SGH. (Note: IAW FDA guidance, COMIRNATY® has the same formulation
      and can be used interchangeably with the FDA-authorized Pfizer-BioNTech COVID-19
      Vaccine. Providers can use doses distributed under the EUA to administer the
      vaccination series as if the doses were the licensed vaccine.)

      5.3.2.2. SGH will ensure appropriate commanders are aware of refusals.

      5.3.2.3. Vaccine refusal should be handled with the appropriate regard to the individual’s
      privacy.
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         ATTACHMENT 1 – RELIGIOUS ACCOMMODATION REQUESTS

  Post-Accession Immunization Exemption Requests
           STEPS                                NOTES
  1      Member requests             Include, at a minimum, the name, grade, DoD Identification number,
         exemption of                faith group, unit, and specialty code of the Airman or Guardian; the
         immunization                nature of the accommodation requested; the religious basis for the
         requirements via letter     request; a comment on the sincerity of the request; and the substantial
         addressed to the            burden on the member’s expression of religion. (DAFI 52-201, par. 5.3)
         appropriate approval               Example at DAFI 52-201, Attachment 6.
         authority                          Decision authority is member’s MAJCOM/FLDCOM, DRU
         (MAJCOM/FLDCOM) for                   or FOA commander (DAFI 52-201, par. 6.6.1)
         immunizations)                     Member has a temporary exemption from immunization while
                                               request is processing (DAFI 52-201, par. 2.12)
  2      Unit commander counsels     CC should counsel member that noncompliance with immunization
         the requestor after         requirements may adversely affect readiness for deployment,
         receiving the request       assignment, international travel, or result in other administrative
                                     consequences (DAFI 52-201, par. 6.6.1.1)

                                     CC’s counseling must be documented in a memorandum and included
                                     with the religious accommodation request package.
  3      Military medical provider   Counseling must be documented in a memorandum and included with
         counsels the requestor      the request package (DAFI 52-201, par. 6.6.1.)

                                     Military provider must ensure member is making an informed decision
                                     and should address, at minimum, specific info about the disease
                                     concerned, specific vaccine info (including product constituents,
                                     benefits, risks), and potential risks of infection for unimmunized
                                     individuals (AFI 48-110, para 2-6b.(3)(a)2.)
  4      Military Chaplain           Chaplain must complete Interview Checklist (Attachment 5) and draft
         interviews the              written memo (DAFI 52-201, par. 5.4)
         requestor
  5      Submit package to the       At Installation level, the RRT will include the commander (or
         Religious Resolution Team   designee), Senior Installation Chaplain (or equivalent), public affairs
         (RRT) for review.           officer, and staff judge advocate, and a medical provider (DAFI 52-
                                     201, par. 3.8.1.1)

                                     Wing/Delta Chaplain, as lead for RRT, shall write the memo to the
                                     decision authority detailing the RRT recommendation and any dissenting
                                     views of
                                     others (DAFI 52-201, par. 5.6.3)
  6      Staff judge advocate will   The review will also state whether the request and enclosures are
         draft a written legal       complete within the provisions of the DAFI 52-201.
         review.
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  7      Each commander shall         Endorsements must address (DAFI 52-201, par. 6.6.1.5):
         endorse the request with         If there is a compelling government interest and any effect the
         recommendation for                  accommodation will have on readiness, unit cohesion, good
         approval or disapproval             order and discipline, health, or safety, and impact on the duties
         and forward through the             of the member
         chain of command to the          whether less restrictive means can be used to meet the
         decision authority.                 government’s compelling government interest
                                          30 business days for CONUS requests (60 business days for
                                             OCONUS requests and requests from Reserve Component
                                             members not on active duty) from the date of submission to unit
                                             to final action by MAJCOM/FLDCOM commander and
                                             notification to the member (DAFI 52-201, Table 2.1)

                                      NOTE: Although AFI 48-110 says the AF only grants temporary
                                      immunization exemptions, the newer DAFI 52-201 states that approvals
                                      will remain in effect during follow-on duties, assignments, or locations,
                                      and for the duration of a Service member’s military career. However,
                                      there may be a change in circumstances that requires the
                                      accommodation to be reevaluated in the future (e.g., deployment, new
                                      duties, or other material change in circumstances). (DAFI 52-201, par.
                                      5.7.2)
                                             DAFI 52-201, par. 5.7.3. New requests for the same
                                                accommodation are not necessary upon new assignment,
                                                transfer of duty stations, temporary duty, or other significant
                                                changes in circumstances, including deployment unless noted on
                                                the approval memorandum.DAFI 52-201, par. 5.7.4. Approved
                                                accommodations will continue unless the member’s commander
                                                determines a compelling government interest exists requiring a
                                                temporary or permanent withdrawal of the approval. (T-1).
  8      MAJCOM/FLDCOM,               If denial - he/she will indicate so on the memorandum, indicate the
         DRU, or FOA                  reasoning for disapproval and forward it to the servicing FSS (DAFI 52-
         commander determines         201, par. 6.6.1.6).
         whether approval, or
         partial / complete denial
         is
         appropriate

  9      Servicing FSS ensures a      DAFI 52-201, par. 6.6.1.6
         copy of the final decision
         is included in the
         member’s automated
         personnel
         records.


  10     Member’s commander           DAFI 52-201, par. 6.6.1.6
         should notify the
         member
         of the final decision.
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  11     Member may appeal            Member shall address a memorandum to the appeal authority with a
         decision to AF/SG            copy given to the previous disapproval authority and provide the
                                      memorandum to the unit commander for processing (DAFI 52-201, par.
                                      5.8.2)

                                      AF/SG is ultimate appeal authority for immunization exemptions (DAFI
                                      52-201, Table 6.1)

                                      30 business days to resolve appeal (DAFI 52-201, par. 2.10)


  Checklist for Required Package Items
         Member’s request letter (DAFI 52-201, par. 5.3 and 6.6.1)
         Unit CC’s Written Counseling w/ requestor (DAFI 52-201, par. 6.6.1.1)
         Chaplain’s Interview Memo w/ requestor (DAFI 52-201, par. 5.4 and 4.2.7)
         Military Medical Provider Counseling Memo w/ requestor (DAFI 52-201, par. 6.6.1.2 and AFI 48-110,
         par. 2-6b.(3)(a)2.)
         SJA Legal Review (DAFI 52-201, par. 5.6.2)
         RRT’s Recommendation from Wing Chaplain to Unit CC (DAFI 52-201, par. 5.6.1 and 6.6.1.3)
         Chain of Command Recommendations (DAFI 52-201, par. 6.6.1.5). NOTE: there may be a change in
         circumstances that requires the accommodation to be reevaluated in the future (e.g., deployment,
         new duties, or other material change in circumstances). (DAFI 52-201, par. 5.7.2). We recommend CC
         endorsements consider whether to include any recommended circumstances that would require
         reevaluation (such as overseas PCS or deployments).
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                 ATTACHMENT 2 - MEDICAL EXEMPTION REQUESTS
 Immunization Medical Exemption Requests
 STEPS                         NOTES
 1 Member requests medical     - Member notifies commander of possible contraindication to vaccine
   exemption of COVID-19
   immunization requirements
 2 Unit commander ensures
   member is evaluated by
   military medical provider



 3 Military medical provider   - Provider evaluates potential contraindication based on the health of
   evaluates member              vaccine candidate and the nature of the vaccine under consideration;
                                 counsels member on vaccine compliance
 4 Medical provider makes      - Provider documents exemption in ASIMS and electronic health record
   determination
 5 Commander reviews ASIMS     - Commander has awareness of member’s readiness status
